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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of New York
                                          (State)                                                                              ☐ Check if this is an
Case number (if known):                                        Chapter     11                                                      amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               AG Holdings II Inc.


                                                 See Rider 1
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                              Mailing address, if different from principal place
                                                                                                   of business
                                          700              Lanidex Plaza
                                          Number           Street                                  Number          Street


                                                                                                   P.O. Box
                                          Parsippany                       NJ      07054
                                          City                           State    Zip Code         City                          State        Zip Code

                                                                                                   Location of principal assets, if different from
                                                                                                   principal place of business
                                          Morris County
                                          County                                                   Number          Street




                                                                                                   City                          State        Zip Code




5. Debtor’s website (URL)                 www.kingsfoodmarkets.com; www.balduccis.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:
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                                               A. Check One:
7.   Describe debtor’s business
                                               ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                               ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                               ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                               ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                               ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                               ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                               ☒ None of the above

                                               B. Check all that apply:
                                               ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                               ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                  § 80a-3)
                                               ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               4451 (Grocery Stores)

8. Under which chapter of the                  Check One:
   Bankruptcy Code is the
   debtor filing?                              ☐ Chapter 7

                                               ☐ Chapter 9

      A debtor who is a “small                 ☒ Chapter 11. Check all that apply:
      business debtor” must check
      the first sub-box. A debtor as                             ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      defined in § 1182(1) who elects                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      to proceed under subchapter V                                affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
      of chapter 11 (whether or not                                balance sheet, statement of operations, cash-flow statement, and federal income tax
      the debtor is a “small business                              return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
      debtor”) must check the                                      1116(1)(B).
      second sub-box.
                                                                 ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent
                                                                   liquidated debts (excluding debts owed to insiders or affiliates) are less than
                                                                   $7,500,000, and it chooses to proceed under Subchapter V of Chapter 11. If this
                                                                   sub-box is selected, attach the most recent balance sheet, statement of operations,
                                                                   cash-flow statement, and federal income tax return, or if any of these documents do
                                                                   not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 ☐ A plan is being filed with this petition.

                                                                 ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                   creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                 ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                   Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                 ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                   12b-2.
                                               ☐ Chapter 12
9. Were prior bankruptcy cases            ☒ No
   filed by or against the debtor         ☐ Yes.      District                           When                       Case number
   within the last 8 years?                                                                       MM/DD/YYYY
     If more than 2 cases, attach a                   District                           When                       Case number
     separate list.                                                                               MM/DD/YYYY

10. Are any bankruptcy cases              ☐ No
    pending or being filed by a           ☒ Yes.                                                                    Relationship     See Rider 2
                                                      Debtor      See Rider 2
    business partner or an
    affiliate of the debtor?                          District    Southern District of New York
     List all cases. If more than 1,                                                                                When             See Rider 2
     attach a separate list.                         Case number, if known _______________________                                   MM / DD / YYYY
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    Debtor           AG Holdings II Inc.                                                Case number (if known)
              Name



    11. Why is the case filed in this       Check all that apply:
        district?
                                            ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.
                                            ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have         ☒ No
        possession of any real              ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                      ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                            safety.
                                                            What is the hazard?

                                                      ☐     It needs to be physically secured or protected from the weather.

                                                        ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                            attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                            assets or other options).
                                                      ☐     Other


                                                      Where is the property?
                                                                                           Number          Street



                                                                                           City                                  State       Zip Code



                                                      Is the property insured?
                                                      ☐ No

                                                      ☐ Yes.     Insurance agency

                                                                 Contact name
                                                                 Phone




                           Statistical and administrative information

    13. Debtor's estimation of             Check one:
        available funds
                                           ☐ Funds will be available for distribution to unsecured creditors.
                                           ☒ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of                ☐     1-49                       ☒     1,000-5,000                        ☐    25,001-50,000
        creditors1                         ☐     50-99                      ☐     5,001-10,000                       ☐    50,001-100,000
                                           ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                           ☐     200-999



    15. Estimated assets                   ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
                                           ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                           ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                           ☐     $500,001-$1 million        ☒     $100,000,001-$500 million           ☐   More than $50 billion




1
       The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.

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16. Estimated liabilities            ☐      $0-$50,000                   ☐    $1,000,001-$10 million                ☐    $500,000,001-$1 billion
                                     ☐      $50,001-$100,000             ☐    $10,000,001-$50 million               ☐    $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million              ☐    $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☒    $100,000,001-$500 million             ☐    More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on          08/23/2020
                                                              MM/ DD / YYYY


                                              /s/ Judith Spires                                                 Judith Spires
                                              Signature of authorized representative of debtor               Printed name

                                              Title    Chief Executive Officer




18. Signature of attorney                     /s/ Vincent Indelicato                                        Date        08/23/2020
                                              Signature of attorney for debtor                                          MM/DD/YYYY



                                              Vincent Indelicato

                                              Proskauer Rose LLP
                                              Firm name
                                              Eleven Times Square
                                              Number                     Street
                                              New York                                                              NY                10036
                                              City                                                                  State               ZIP Code
                                              (212) 969-3000                                                        vindelicato@proskauer.com
                                              Contact phone                                                             Email address
                                              4733606                                             NY
                                              Bar number                                          State
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Fill in this information to identify the case:
                                                                        ,
United States Bankruptcy Court for the:
                        Southern District of New York
                                      (State)
Case number (if known):                             Chapter    11



                                                              Rider 1

                                       All other names debtor used in the last 8 years



                   1.      Kings Food Markets
                   2.      Kings
                   3.      Kings – Where Inspiration Strikes
                   4.      Kings Catering
                   5.      Kings Super Markets
                   6.      Balducci’s Food Lover’s Market
                   7.      Balducci’s
                   8.      Balducci’s Gourmet to Go
                   9.      Balducci’s Food Lover’s Market Catering
                   10.     Balducci's Express
                   11.     Sutton Place Gourmet
                   12.     Hayday Markets
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 Fill in this information to identify the case:
                                                                    ,
 United States Bankruptcy Court for the:
                       Southern District of New York
                                       (State)
 Case number (if known):                           Chapter   11



                                                     Rider 2
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of New York for relief under chapter 11 of title 11 of the United
States Code. The Debtors have moved for joint administration of these cases under the case number assigned to
the chapter 11 case of KB US Holdings, Inc.


                            COMPANY                                               CASE NUMBER

 KB US Holdings, Inc.                                              20-_________ (        )

 KB Holding, Inc.                                                  20-_________ (        )

 AG Kings Holdings Inc.                                            20-_________ (        )

 AG Holdings II Inc.                                               20-_________ (        )

 Kings Super Markets, Inc.                                         20-_________ (        )

 Balducci’s Holdings LLC                                           20-_________ (        )

 Balducci’s Connecticut LLC                                        20-_________ (        )

 Balducci’s Maryland LLC                                           20-_________ (        )

 Balducci’s Virginia LLC                                           20-_________ (        )

 Balducci’s New York LLC                                           20-_________ (        )
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                         UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


                                                          )
    In re:                                                )    Chapter 11
                                                          )
    AG HOLDINGS II INC.                                   )    Case No. 20-___________(___)
                                                          )
                                                          )
                           Debtor.                        )
                                                          )

                             LIST OF EQUITY SECURITY HOLDERS2

Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following identifies
all holders having a direct or indirect ownership interest of the above-captioned debtor in
possession (the “Debtor”).

Check applicable box:

☐ There are no equity security holders or corporations that directly or indirectly own 10% or more
of any class of the debtor’s equity interest.

☒ The following are the debtor equity security holders (list holders of each class, showing the
number and kind of interests registered in the name of each holder, and the last known address or
place of business of each holder):

     Name and Last Known Address of                 Kind/Class of Interest            Number of Interests
         Place of Business of Holder                                                       Held
    AG Kings Holdings Inc.
    700 Lanidex Plaza
                                                   Equity                                      100%
    Parsippany, NJ 07054




2
 This list serves as the required disclosure by the Debtors pursuant to Rule 1007 of the Federal Rules of Bankruptcy
Procedure. All equity positions listed are as of the date of commencement of the Chapter 11 Cases.
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                       UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


                                                   )
 In re:                                            )    Chapter 11
                                                   )
 AG HOLDINGS II INC.                               )    Case No. 20-___________(___)
                                                   )
                                                   )
                        Debtor.                    )
                                                   )

                            CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure

and Rule 1007-3 of the Local Bankruptcy Rules for the Southern District of New York, KB US

Holdings, Inc. (“Holdings”) and certain of its debtor affiliates, as debtors and debtors in possession

in the above-captioned chapter 11 cases (collectively, the “Debtors”), respectfully represent as

follows:

          1.    Holdings’ equity structure is made up of 10,500,000 shares, divided into two classes

of stock of which (a) 5,500,00 is designated as Common Stock and (b) 5,000,000 is designated as

Preferred Stock. KB Group Holdings Inc. and its affiliates beneficially own 98.62% of each of

the common stock and preferred stock issued and outstanding; Judith Spires owns 1.2% of the

common stock and preferred stock issued and outstanding; and Richard Durante owns 0.26% of

the common stock and preferred stock issued and outstanding. No Debtor holds any of US

Holdings’ stock.

          2.    One hundred percent (100%) of KB Holding, Inc. is directly owned by Holdings.

          3.    One hundred percent (100%) of AG Kings Holdings Inc. is directly owned by KB

Holding, Inc.
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       4.       One hundred percent (100%) of AG Holdings II Inc. is directly owned by AG Kings

Holdings Inc.

                a.      One hundred percent (100%) of Kings Super Markets, Inc. is directly owned

by AG Holdings II Inc.

                b.      One hundred percent (100%) of the membership interest of Balducci’s

Holdings LLC (“Balducci’s”) is directly owned by AG Holdings II Inc.;

                        i. Balducci’s Holdings LLC owns one hundred percent (100%) of the

                             membership interests of:

                                1. Balducci’s Connecticut LLC;

                                2. Balducci’s Maryland LLC;

                                3. Balducci’s Virginia LLC; and

                                4. Balducci’s New York LLC.
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   Fill in this information to identify the case:

   Debtor name   AG Holdings II Inc.
   United States Bankruptcy Court for the: Southern                     District of     New York

   Case number (If known):
                                                                                      (State)
                                                                                                                                                 Check if this is an
                                                                                                                                                    amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest
Unsecured Claims and Are Not Insiders                                                                                                                            12/15

A list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do
not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless
the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 40 largest unsecured claims.


  Name of creditor and complete           Name, telephone number, and                 Nature of the claim   Indicate if     Amount of unsecured claim
  mailing address, including zip          email address of creditor contact           (for example, trade   claim is        If the claim is fully unsecured, fill in only
  code                                                                                debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
                                                                                      professional          unliquidated,   secured, fill in total claim amount and deduction
                                                                                      services, and         or disputed     for value of collateral or setoff to calculate
                                                                                      government                            unsecured claim.
                                                                                      contracts)
                                                                                                                            Total claim,      Deduction        Unsecured
                                                                                                                            if partially      for value of     claim
                                                                                                                            secured           collateral
                                                                                                                                              or setoff
  Porky Products                        Attn: Nicole Musselman, Credit                Trade Vendor
1 198 Emmet Street                      Dept.
  Newark, NJ 07114-2720                 732-541-0200
                                                                                                                                                                $2,799,795
                                        732-359-9171
                                        Nicole.Musselman@porky.com

  Fresh Pro Food Distributors/          Attn: Teri Torack, Controller                 Trade Vendor
2 Rlb Food Distributors                 973-575-9526
  2 Dedrick Place CN2285                973-276-3559                                                                                                            $2,661,679
  West Caldwell, NJ 07006               ttorack@freshpro.com

  Kehe Distributors LLC                 Attn: Pamela Mobley, AR Analyst               Trade Vendor
3 1245 E. Diehl Road, Suite 200         630-343-0000
  Naperville, IL 60563                  800-995-5343                                                                                                            $2,087,227
                                        Pamela.Mobley@kehe.com

  Inter-County Bakers, Inc.             Attn :Brittany Gervasi, AR                    Trade Vendor
4 1095 Long Island Avenue               631-957-1350
  Deer Park, NY 11729                   800-696-1350                                                                                                              $705,781
                                        brittany@icbakers.com

  Chex Finer Foods                      Attn: Robin Broberg, A/R Credit               Trade Vendor
5 71 Hampden Road                       Specialist
  Mansfield, MA 02048                   800-227-8114
                                                                                                                                                                  $456,725
                                        508-226-0660
                                        r.broberg@chexfoods.com

  The Chefs Warehouse LLC               Attn: Courtney Denkovich, VP,                 Trade Vendor
6 240 Food Center Drive                 Credit and Collections
  Bronx, NY 10474                       203-894-1345 x 10124                                                                                                      $431,988
                                        cdenovich@chefswarehouse.com

  Dora's Naturals                       Attn: Cyrus Schwartz                          Trade Vendor
7 21 Empire Boulevard                   201-229-0500
  South Hackensack, NJ 07606            cyruss@dorasnaturals.com                                                                                                  $418,853
                                        melissah@dorasnaturals.com

  Valley & Plainfield Associates,       Attn: Wilma Lew                               Rent                  Disputed
8 L.P.                                  908-604-6837
  395 Pleasant Valley Way               Wilma@cromandevelopment.com                                                                                               $417,966
  West Orange, NJ 07052



 Official Form 204                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                                    page 1
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   Debtor AG Holdings II Inc.                                                              Case number (if known)
            Name




   Name of creditor and complete          Name, telephone number, and     Nature of the claim   Indicate if         Amount of unsecured claim
   mailing address, including zip code    email address of creditor       (for example, trade   claim is            If the claim is fully unsecured, fill in only
                                          contact                         debts, bank loans,    contingent,         unsecured claim amount. If claim is partially
                                                                          professional          unliquidated,       secured, fill in total claim amount and deduction
                                                                          services, and         or disputed         for value of collateral or setoff to calculate
                                                                          government                                unsecured claim.
                                                                          contracts)
                                                                                                                    Total claim,      Deduction        Unsecured
                                                                                                                    if partially      for value of     claim
                                                                                                                    secured           collateral
                                                                                                                                      or setoff
   Farmlind Produce LLC                  Attn: Matthew Lind
 9 802 Bergen Street                     724-541-5786
   Newark, NJ 07108                      201-321-1123                     Trade Vendor                                                                   $385,044
                                         farmlindproduce@gmail.com

   Block 4 LLC                           Attn: Stephanie Friedman
10 2220 Pennsylvania Avenue NW           or Rich Ellis
   Suite 200W                            202-585-0806
   Washington, DC 20037                  202-585-0843                  Rent                                                                              $370,040
                                         communications@restonchamber.
                                         org

   Sushi Maru Express                    Attn: John Kim, General Manager
11 65 Challenger Road, Suite 202         201-654-0422
   Ridgefield Park, NJ 07660             john.k@sushimaruexpress.com     Trade Vendor                                                                    $327,817


   Wakefern Food Corp.
12 33 Northfield Avenue
   Edison, NJ 08837                                                       Trade Vendor                                                                   $258,026


   Aetna Health Inc.
13 P.O. Box 804735
   Chicago, IL 60680                                                      Benefits                                                                       $240,967


   Bimbo Foods, Inc.                     Attn: Nimika Baldsing
14 P.O. Box 827810                       519-620-6941
   Philadelphia, PA 19182-7810           866-492-2242 x 6941            Trade Vendor                                                                     $214,734
                                         nimika.baldsing@grupobimbo.com

   Congressional Seafood Co. Inc.        Attn: Michelle LeBlanc, AR
15 7775 Chesapeake Bay Court             410-799-8626
   Jessup, MD 20794                      michelle@congressionalseafood.   Trade Vendor                                                                   $214,391
                                         com

   Horizon Blue Cross
16 P.O. Box 10130
   Newark, NJ 07101-3130                                                  Benefits                                                                       $213,683


   World's Best Cheese, Inc.             Attn: Legal Department
17 111 Business Park Drive               800-922-4337
   Armonk, New York, 10504               kathy@wbcheese.com               Trade Vendor                                                                   $208,091


   Acme Paper & Supply Co, Inc.          Attn: Michael Attman
18 P.O. Box 75087                        410-792-2333
   Baltimore, MD 21275                   800-462-5812                     Trade Vendor                                                                   $194,554
                                         mattman@acmepaper.com

   E & M Ice Cream Inc.                  Attn: Nathalya Granada, AR
19 701 Zerega Avenue                     718-518-8707
   Bronx, NY 10473                       ngranada@eandmco.com             Trade Vendor                                                                   $193,294




   Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                             page 2
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   Debtor AG Kings Holdings, Inc.                                                         Case number (if known)
            Name




   Name of creditor and complete          Name, telephone number, and    Nature of the claim   Indicate if         Amount of unsecured claim
   mailing address, including zip code    email address of creditor      (for example, trade   claim is            If the claim is fully unsecured, fill in only
                                          contact                        debts, bank loans,    contingent,         unsecured claim amount. If claim is partially
                                                                         professional          unliquidated,       secured, fill in total claim amount and deduction
                                                                         services, and         or disputed         for value of collateral or setoff to calculate
                                                                         government                                unsecured claim.
                                                                         contracts)
                                                                                                                   Total claim,      Deduction        Unsecured
                                                                                                                   if partially      for value of     claim
                                                                                                                   secured           collateral
                                                                                                                                     or setoff
   Suburban Disposal                     Attn: Kerry Roselle
20 54 Montesano Road                     973-227-7020
   Fairfield NJ 07004                    973-445-4697                    Utility                                                                        $189,980
                                         kmroselle@optonline.com

   Montgomery County, Maryland
21 255 Rockville Pike, 2nd Floor
   Rockville, MD 20850                                                   Tax                                                                            $183,686


   Jersey Central Power & Light
22 300 Madison Avenue
   Morristown, NJ 07960                                                  Utility                                                                        $178,204


   Bunzl Distribution Northeast          Attn: Dave Maszezak
23 27 Distribution Way                   732-821-7000
   Monmouth, NJ 08852                    dave.maszezak@bunzlusa.com      Trade Vendor                                                                   $173,648


   Liberty Coca Cola Beverages           Attn: Chela Mariz Ramos Bade,
24 P.O. Box 780810                       AR
   Philadelphia, PA 19178                800-628-6189
                                                                         Trade Vendor                                                                   $173,643
                                         accountsreceivable@coke-
                                         bsna.com

   Precision Mechanical                  Attn: Jim Salamone
25 1360 Industrial Boulevard             215-396-2627                    Repairs &
   Southampton, PA 18966                 jsalamone@premech.net                                                                                          $153,486
                                                                         Maintenance

   Pepperidge Farm Incorporated
26 P.O. Box 640758
   Pittsburgh, PA 15264-0758                                             Trade Vendor                                                                   $144,120


   Euro USA
27 P.O. Box 63471
   Charlotte, NC 28263-3471                                              Trade Vendor                                                                   $133,368


   Madison Seafood Inc.
28 228 Wright Street
   Newark, NJ 07114                                                      Trade Vendor                                                                   $132,266


   Goya Foods Inc.
29 350 County Road
   Jersey City, NJ 07307                                                 Trade Vendor                                                                   $122,915


   Frito Lay Inc.
30 74 Remittance Drive, Suite 1217
   Chicago, IL 60675-1217                                                Trade Vendor                                                                   $122,291




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                         page 3
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   Debtor AG Kings Holdings, Inc.                                                        Case number (if known)




   Name of creditor and complete         Name, telephone number, and    Nature of the claim   Indicate if         Amount of unsecured claim
   mailing address, including zip code   email address of creditor      (for example, trade   claim is            If the claim is fully unsecured, fill in only
                                         contact                        debts, bank loans,    contingent,         unsecured claim amount. If claim is partially
                                                                        professional          unliquidated,       secured, fill in total claim amount and deduction
                                                                        services, and         or disputed         for value of collateral or setoff to calculate
                                                                        government                                unsecured claim.
                                                                        contracts)
                                                                                                                  Total claim,      Deduction        Unsecured
                                                                                                                  if partially      for value of     claim
                                                                                                                  secured           collateral
                                                                                                                                    or setoff
   Public Service Electric & Gas
31 P.O. Box 14444
   Brunswick, NJ 08906-4444                                            Utility                                                                         $114,445


   Raritan Building Services Corp.
32 2 Gourmet Lane, Suite 2-600
                                                                       Repairs &
   Edison, NJ 08837                                                                                                                                    $112,423
                                                                       Maintenance

   Mondelez Global LLC
33 P.O. Box 13428
   Newark, NJ 07188-0428
                                                                       Trade Vendor                                                                    $112,405



   Canada Dry Bottling Co.
34 P.O. Box 741098
   Atlanta, GA 30374-1078                                              Trade Vendor                                                                    $110,321


   Metropolitan Foods Inc.
35 174 Delawanna Avenue
   Clifton, NJ 07014                                                   Trade Vendor                                                                    $110,206


   Mcmahon's Farm
36 305 Jackson Road
   Hopewell Junction, NY 12533                                         Trade Vendor                                                                    $109,267


   Pete D'Andrea Provisions
37 178 Scharer Avenue
   Northvale NJ 07647                                                  Trade Vendor                                                                    $106,904


   Peet's Coffee & Tea
38 P.O. Box 3900
   San Francisco, CA 94139                                             Trade Vendor                                                                     $90,946


   Garelick Farms, LLC
39 P.O. Box 844358
   Boston, MA 02284-4358                                               Trade Vendor                                                                     $90,735


   Jim Bolognese
40 251 Dahlgren Place
   Brooklyn, NY 11228                                                  Trade Vendor                                                                     $89,848




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    Fill in this information to identify the case and this filing:

   Debtor Name          AG Holdings II Inc.

   United States Bankruptcy Court for the:                Southern District of New York
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                     List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Judith Spires
                                         08/23/2020
                                        MM/ DD/YYYY                              Signature of individual signing on behalf of debtor
                                                                                 Judith Spires
                                                                                 Printed name
                                                                                 Chief Executive Officer
                                                                                 Position or relationship to debtor
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                        RESOLUTIONS OF THE GOVERNING BODIES OF

                                     KB US HOLDINGS, INC.
                                       KB HOLDING, INC.
                                    AG KINGS HOLDINGS INC.
                                      AG HOLDINGS II INC.
                                  KINGS SUPER MARKETS, INC.
                                   BALDUCCI’S HOLDINGS LLC
                                 BALDUCCI’S CONNECTICUT LLC
                                  BALDUCCI’S MARYLAND LLC
                                   BALDUCCI’S VIRGINIA LLC
                                  BALDUCCI’S NEW YORK LLC

                                              August 22, 2020

        The required members of the board of directors, board of managers, or the sole member, as the case
may be (as applicable, the “Governing Body” and, collectively, the “Governing Bodies”), of each of the
above referenced companies (each, a “Company,” and collectively, the “Companies”), do hereby resolve
to adopt, and do hereby adopt, the following resolutions at a meeting of the board of managers or directors,
or by action of the sole member, as the case may be, pursuant to the organizational documents of the
Companies and, as applicable, Section 141 of the Delaware General Corporation Law, Section 18-3029(d)
of the Delaware Limited Liability Company Act, Sections 407 and 408 of the New York Limited Liability
Company Law and Section 6-7.1 of the New Jersey Business Corporation Act, as applicable.

        WHEREAS, on July 13, 2020, the Companies entered into that certain Asset Purchase Agreement,
by and among TLI Bedrock LLC, a New York limited liability company, as Buyer, and each of the
Companies as Sellers, pursuant to which the Companies have agreed to sell substantially all of their assets,
subject to and in accordance with the terms and conditions therein (together with all attachments and
exhibits thereto, the “APA”);

         WHEREAS, the APA contemplates that the Companies shall, and the Companies intend to, file
petitions seeking relief under the provisions of chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”, and such case, the “Chapter 11 Cases”);

        WHEREAS, pursuant to the APA, the consummation of the transactions contemplated thereby is
subject to, among other things, the entry of the Sale Order (as defined in the APA) by the United States
Bankruptcy Court for the Southern District of New York, under, inter alia, Sections 363 and 365 of the
Bankruptcy Code;

        WHEREAS, the Governing Body of each Company has reviewed and had the opportunity to ask
questions about the materials presented by the management and the legal and financial advisors of such
Company regarding the liabilities and liquidity of such Company, the strategic alternatives available to it
and the impact of the foregoing on such Company’s businesses;

         WHEREAS, the Governing Body of each Company has had the opportunity to consult with the
management and the legal and financial advisors of such Company to fully consider each of the strategic
alternatives available to such Company; and

         WHEREAS, each Governing Body believes that commencing a Chapter 11 Case and taking the
actions set forth below are in the best interests of the applicable Company and, therefore, desires to approve
the following resolutions.
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    I.       Commencement of Chapter 11 Case

          NOW, THEREFORE, BE IT RESOLVED, that the Governing Body of each Company has
determined, after consultation with the management and the legal and financial advisors of such Company,
that it is desirable and in the best interests of such Company, its creditors, and other parties in interest that
a petition be filed by the Company seeking relief in a Chapter 11 Case pursuant to the Bankruptcy Code;
and be it further

         RESOLVED, that Judith Spires, the Chief Executive Officer of KB US Holdings, Inc., and any
officer of each respective Company (each, an “Authorized Officer” for such respective Company) in each
case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed to execute and
file in the name and on behalf of the applicable Company, and under its corporate seal or otherwise, all
petitions, schedules, motions, lists, applications, pleadings, and other papers in the United States
Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”), and, in connection
therewith, to employ and retain all assistance by legal counsel, accountants, financial advisors, investment
bankers and other professionals, and to take and perform any and all further acts and deeds which such
Authorized Officer deems necessary, proper, or desirable in connection with such Company’s Chapter 11
Case, including, without limitation, negotiating, executing, delivering and performing any and all
documents, agreements, certificates and/or instruments in connection with the transactions and professional
retentions set forth in this resolution, with a view to the successful prosecution of the Chapter 11 Case; and
be it further

    II.      Retention of Advisors

       RESOLVED, that the firm of Peter J. Solomon, located at 1345, 6th Avenue, New York, NY
10105, is hereby retained as investment banker for the Company in the Chapter 11 Cases, subject to
Bankruptcy Court approval; and be it further

        RESOLVED, that the firm of Ankura Consulting Group LLC, located at 485 Lexington Ave., 10th
Floor, New York, NY 10017, is hereby retained as financial advisor for the Company in the Chapter 11
Cases, subject to Bankruptcy Court approval; and be it further

       RESOLVED, that the law firm of Proskauer Rose LLP, located at Eleven Times Square, New
York, NY 10036, is hereby retained as attorneys for the Company in the Chapter 11 Cases, subject to
Bankruptcy Court approval; and be it further

         RESOLVED, that the firm of Prime Clerk LLC, located at One Grand Central Place, 60 East 42nd
Street, Suite 1440, New York, New York 10165, is hereby retained as claims, noticing and solicitation
agent for the Company in the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

    III.     Debtor-in-Possession Financing

          RESOLVED, that in connection with the Chapter 11 Cases, it is in the best interest of the
Companies to engage in, and the Companies will obtain benefits from, the lending transactions or the
guarantee of the lending transactions, as applicable, under that certain debtor-in-possession credit facility
(the “DIP Facility”)comprised of (I) a new money revolving credit facility in an aggregate principal amount
not to exceed $20,000,000, which includes a sublimit of $5,000,000 for the issuance of letters of credit, and
(II) a roll-up of certain prepetition obligations (the “Roll-up Amount”), in each case to be evidenced by
that certain Debtor-in-Possession Credit Agreement, to be entered into by and among AG Kings Holdings
Inc., as borrower, the Companies, as guarantors, the lenders from time to time party thereto (the “Lenders”),
and Whitehorse Capital Management, LLC, as administrative agent (in such capacity, including any
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successor thereto, the “Administrative Agent”) and as collateral agent (in such capacity, including any
successor thereto, the “Collateral Agent”) for the Lenders (together with the Exhibits and Schedules
annexed thereto, the “DIP Credit Agreement”) (capitalized terms used in this section with respect to
debtor-in-possession financing and not otherwise defined herein shall have the meanings ascribed to such
terms in the DIP Credit Agreement); in each case subject to approval by the Bankruptcy Court, which is
necessary and appropriate to the conduct, promotion and attainment of the businesses of the Companies
(the “Debtor-in-Possession Financing”); and be it further

        RESOLVED, that the form, terms and provisions of each of (i) the DIP Credit Agreement,
including the use of proceeds to provide liquidity for the Companies throughout the Chapter 11 Cases,
substantially in the form presented to each Governing Body and (ii) any and all of the other agreements,
including, without limitation, any guarantee and security agreement, letters, certificates, documents and
instruments authorized, executed, delivered, reaffirmed, verified and/or filed in connection with the Debtor-
in-Possession Financing (together with the DIP Credit Agreement, collectively, the “DIP Financing
Documents”) and the Companies’ performance of their obligations thereunder, including the borrowings
and guarantees, as applicable, contemplated thereunder, are hereby, in all respects confirmed, ratified and
approved; and be it further

         RESOLVED, that any Authorized Officer is hereby authorized, empowered, and directed, in the
name and on behalf of such Company, to cause the Company to negotiate and approve the terms, provisions
of and performance of, and to prepare, execute and deliver the DIP Financing Documents to which it is a
party, in the name and on behalf of such Company under its corporate seal or otherwise, and such other
documents, agreements, instruments and certificates as may be required by the Agent or required by the
DIP Credit Agreement and any other DIP Financing Documents; and be it further

        RESOLVED, that each Company be, and hereby is, authorized, empowered, and directed to incur
or guarantee, as applicable, the Obligations and to undertake any and all related transactions contemplated
under the DIP Financing Documents including the granting of security thereunder (collectively, the “DIP
Financing Transactions”); and be it further

        RESOLVED, that any Authorized Officer is hereby authorized, empowered, and directed to grant
security interests in, and liens on, any and all property of such Company as collateral pursuant to the DIP
Financing Documents to secure all of the obligations and liabilities of such Company thereunder to the
Lenders and the Agent, and to authorize, execute, verify, file and/or deliver to the Agent, on behalf of the
Company, all agreements, documents and instruments required by the Lenders in connection with the
foregoing; and be it further

         RESOLVED, that any Authorized Officer is hereby authorized, empowered, and directed, in the
name and on behalf of such Company, to take all such further actions including, without limitation, to pay
all fees and expenses, in accordance with the terms of the DIP Financing Documents, which shall, in such
Authorized Officer’s sole judgment, be necessary, proper or advisable to perform such Company’s
obligations under or in connection with the DIP Financing Documents and the transactions contemplated
therein and to carry out fully the intent of the foregoing resolutions; and be it further

         RESOLVED, that any Authorized Officer is hereby authorized, empowered, and directed, in the
name and on behalf of such Company, to execute and deliver any amendments, supplements, modifications,
renewals, replacements, consolidations, substitutions and extensions of the DIP Credit Agreement and/or
any of the DIP Financing Documents which shall, in such Authorized Officer’s sole judgment, be necessary,
proper or advisable; and be it further
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    IV.     Appointment of M. Benjamin Jones as Chief Restructuring Officer and Kasey Rosado as
            Restructuring Officer

         RESOLVED, that each Governing Body of each Company previously discussed the appointment
of a Chief Restructuring Officer and Restructuring Officer to provide certain consulting services to the
Companies in connection with transactions and procedures under and related to any in-court or out-of-court
restructuring or bankruptcy filing; and be it further

         RESOLVED, that each Governing Body of each Company has recommended that the Companies
appoint M. Benjamin Jones as Chief Restructuring Officer and Kasey Rosado as Restructuring Officer; and
be it further

        RESOLVED, that each Governing Body has had the opportunity to consult with the management
and the legal and financial advisors of the Company to fully consider the decision to appoint M. Benjamin
Jones and Kasey Rosado in these roles; and be it further

        RESOLVED, that M. Benjamin Jones, Senior Managing Director of Ankura Consulting Group
LLC, located at 485 Lexington Ave., 10th Floor, New York, NY 10017, is hereby retained as a Chief
Restructuring Officer (the “Chief Restructuring Officer”). Subject to his business judgment and fiduciary
responsibilities, M. Benjamin Jones will be granted authority to evaluate, implement, and manage the
Companies; and be it further

        RESOLVED, that Kasey Rosado, Senior Managing Director of Ankura Consulting Group LLC,
located at 485 Lexington Ave., 10th Floor, New York, NY 10017, is hereby retained as a Restructuring
Officer (the “Restructuring Officer”). Subject to her business judgment and fiduciary responsibilities,
Kasey Rosado will be granted authority to evaluate, implement, and manage the Companies; and be it
further

         RESOLVED, that the Chief Restructuring Officer and Restructuring Officer are hereby authorized,
empowered, and directed, in the name and on behalf of each Company, to execute and file in the Company’s
Chapter 11 Case, all petitions, schedules, motions, lists, applications, pleadings, and other papers, and to
take and perform any and all further acts and deeds which such Chief Restructuring Officer or Restructuring
Officer deems necessary, proper, or desirable in connection with the Company’s Chapter 11 Case; and be
it further

        RESOLVED, that the Chief Restructuring Officer and Restructuring Officer, as an authorized
representative of each of the Companies, are authorized and directed to execute and deliver all documents
necessary to perfect the filing of the Chapter 11 Cases; and be it further

        RESOLVED, that the Chief Restructuring Officer and Restructuring Officer are authorized and
directed to appear in all bankruptcy proceedings on behalf of each Company, and to otherwise do and
perform all acts and deeds and to execute and deliver all necessary documents on behalf of each Company
in connection with the Chapter 11 Case; and be it further

    V.      General Authorization and Ratification

         RESOLVED, that any Authorized Officer is hereby authorized, empowered, and directed, in the
name and on behalf of the respective Company, to cause such Company to enter into, execute, deliver,
certify, file and/or record, and perform, such agreements, instruments, motions, affidavits, applications for
approvals or rulings of governmental or regulatory authorities, certificates, or other documents, and to take
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such other actions that in the judgment of the Authorized Officer shall be or become necessary, proper, or
desirable in connection with such Company’s Chapter 11 Case; and be it further

         RESOLVED, that any and all past actions heretofore taken by any Authorized Officer or the
directors of such Company in the name and on behalf of such Company in furtherance of any or all of the
preceding resolutions be, and the same hereby are, ratified, confirmed, and approved in all respects; and be
it further

         RESOLVED, that all actions heretofore taken by any director, officer or agent of such Company,
for and on behalf of such Company, with respect to any of the matters referenced in the foregoing
resolutions are ratified, approved and confirmed in all respects.


                                               *******
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                                   KB US HOLDINGS, INC.

                        CERTIFICATE OF CORPORATE OFFICER

                                         August 23, 2020

        I, Judith Spires, being a duly elected and authorized officer of each of the following
(each a “Company” and, collectively, the “Companies”):

       A. KB US Holdings, Inc., a Delaware corporation;
       B. KB Holding, Inc., a Delaware corporation;
       C. AG Kings Holdings Inc., a Delaware corporation;
       D. AG Holdings II Inc., a Delaware corporation;
       E. Kings Super Markets, Inc., a New Jersey corporation;
       F. Balducci’s Holdings LLC, a Delaware limited liability company;
       G. Balducci’s Connecticut LLC, a Delaware limited liability company;
       H. Balducci’s Maryland LLC, a Delaware limited liability company;
       I. Balducci’s Virginia LLC, a Delaware limited liability company; and
       J. Balducci’s New York LLC, a Delaware limited liability company;
hereby certify as follows:

       A. I am a duly qualified and elected officer of each of the Companies and, as such, I am
          familiar with the facts herein certified and I am duly authorized to certify the same on
          behalf of the Companies;

       B. Attached hereto is a true, correct, and complete copy of the resolutions of the board of
          directors, board of managers, sole member, or sole manager, as the case may be, of
          each of the Companies, duly adopted and approved on August 22, 2020, in
          accordance with each Company’s bylaws or operating agreement; and

       C. Such resolutions have not been amended, altered, annulled, rescinded, modified, or
          revoked since their adoption and remain in full force and effect as of the date hereof.
          There exist no subsequent resolutions relating to the matters set forth in the
          resolutions attached here.

       IN WITNESS WHEREOF, the undersigned has executed this certificate as of the 23rd
day of August, 2020.



                                                             _____________________________
                                                             Name: Judith Spires
                                                             Title: Chief Executive Officer
